              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                CASE NO. 1:20-cv-00954-WO-JLW

FARHAD AZIMA,

                   Plaintiff,
                            DEFENDANTS’ RESPONSE IN
v.
                            OPPOSITION TO PLAINTIFF’S
NICHOLAS DEL ROSSO and         MOTION TO COMPEL
VITAL MANAGEMENT SERVICES, PRODUCTION OF DOCUMENTS
INC.,

                   Defendants.


      Pursuant to Local Rule 37.1(c), Defendants Nicholas Del Rosso and Vital

Management Services, Inc. (“VMS”) (collectively “Defendants”), hereby oppose

Plaintiff Farhad Azima’s (“Plaintiff”) Motion to Compel Production of

Documents (the “Motion”) (D.E. 130) for the reasons set forth below.

                                INTRODUCTION

      In this lawsuit, the Court only permitted Plaintiff to pursue his

allegations that Defendants republished Plaintiff’s trade secrets in May and

June 2018 and, again, in June 2019 (the “Republication Claims”). (D.E. 1,

¶¶ 16, 19, 22, 24–26). All other claims were dismissed with prejudice. (See D.E.

65, pp.23–24).

      Rather than focus on the three months of activity identified for the

Republication Claims, Plaintiff seeks disproportionate party and third-party

discovery to probe nearly every transaction and commercial relationship of


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Defendants without regard for the scope of the lawsuit set by the Court. Worse,

Plaintiff appears to be distancing himself from the purported findings of an

investigator, Jonas Rey, which formed the basis for Plaintiff’s allegations

against Defendants and was used by Plaintiff to delay the multi-million-dollar

fraud judgment against him in the English Proceeding. (See, e.g., D.E. 1,

¶¶ 112 & 127). That is because the story offered by Plaintiff and Rey is false.

      The unusually aggressive tactics used by Plaintiff and improper motives

for this lawsuit justify further protections for Defendants, and the Court

should deny Plaintiff’s premature Motion for several reasons:

      First, Plaintiff should not be permitted to pursue broad and speculative

discovery for the Republication Claims when he knows or should know that the

factual basis for his claims against Defendants is false. According to Rey’s

Witness Statement – which Plaintiff has, tellingly, not introduced in this

lawsuit – Rey was engaged to investigate BellTroX on July 6, 2020, and he

ultimately obtained admissions of culpability from a former CyberRoot

employee, Vikash Pandey, in August 2020. In reality:

    As confirmed by police investigations, Plaintiff and his agents had access
     to CyberRoot’s bank information and were fishing for transactions with
     Defendants or Stuart Page in June 2020;

    Mr. Pandey denied ever speaking with Mr. Rey and rebutted his false
     allegations concerning him, CyberRoot, and Defendants; and




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    Mr. Pandey confirmed that Plaintiff’s agents directly communicated with
     him and attempted to “pressure [him] to give false testimony” in August
     2020.

Therefore, Plaintiff cannot claim to innocently rely on the false accusations

against Defendants that resulted from Rey’s purported investigation.

      Second, Plaintiff is pursuing his excessive discovery for an improper

purpose. Plaintiff used private investigators to provide unfiled legal threats

and draft pleadings to, inter alios, Defendants. The same private investigator

who delivered an unfiled draft of the Complaint to Del Rosso also previously

disclosed that Plaintiff made a deal with a non-party in 2018 to provide

information gained concerning Dechert LLP (“Dechert”) in litigation in

exchange for money. (Del Rosso 2, Ex. A p. 4). Therefore, Plaintiff should not

be permitted to conduct disproportionate discovery for other parties’ benefit or

for his pecuniary benefit.

      Third, Plaintiff’s Motion to Compel is facially deficient and premature

because (1) Plaintiff’s discovery requests exceed the scope of discovery as

limited by this Court; (2) Defendants produced non-confidential documents to

which there were no objections to relevancy and temporal scope; (3) Plaintiff

did not meet and confer before filing his Motion as required by M.D.N.C. Local

Rule 37.1(a); (4) Plaintiff received notice before filing this Motion that

Defendants had not withheld any documents based on any alleged boilerplate




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objections; and (5) Defendants did not improperly withhold a privilege log

because they cannot assert or waive attorney-client privilege of third-parties.

      In short, Defendants are justified in their approach to Plaintiff’s

excessive discovery and, to the extent any portion of Plaintiff’s Motion is

granted, Plaintiff should not be entitled to any costs because Defendants

justifiably relied on the Court’s limitation of claims and the Court’s Order

instructing the parties to not produce confidential information until entry of a

confidentially protective order.

                               BACKGROUND

      VMS provided fraud examination services to Dechert within the scope of

Dechert’s representation of its clients, including the Ras al Khaimah

Investment Authority (“RAKIA”). On January 30, 2020, Del Rosso testified at

the trial in the English Proceeding concerning his limited involvement in

assisting Dechert in retrieving data concerning Plaintiff that had been

discovered online, which the Court deemed credible. (E.g., D.E. 22-1, p.16 ¶ 69).

During cross-examination by Plaintiff’s counsel, Del Rosso disclosed that his

engagement with Dechert prior to being contacted about the public data in

2016 did not relate to Plaintiff. (D.E. 132-3). Instead, his work was focused on

evaluating suspected fraud against RAKIA that had taken place in India. (Id.).

      Following the trial in the English Proceeding, Plaintiff began working

with journalists at Thomson Reuters. Plaintiff engaged Tim Maltin and Maltin


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PR to communicate with Thomson Reuters reporters, including Raphael

Satter. (Ex. A, ¶ 15). On or about April 8, 2020, Satter allegedly contacted

Plaintiff’s U.S. counsel about a story that “touched upon Mr. Azima and the

hacking of his emails.” (Id. ¶ 14). Plaintiff worked with Satter and reviewed

confidentially-sourced information “[b]etween 27 April 2020 and 17 August

2020” concerning alleged hack for hire organizations. (Id. ¶ 15).

I.    Citizen Lab and Thomson Reuters issue report shortly after the
      Approved Judgment is entered against Plaintiff.

      On May 22, 2020, the Court in the English Proceeding published its

Approved Judgment, recognizing that Plaintiff was liable to RAKIA for

substantial fraud. (E.g., D.E. 22-1 ¶ 159). The Court concluded that Azima and

related parties engaged in bribery and collusion, concluding that “it is to be

inferred from the fact that Dr Massaad received a bribe out of the illicit

payments . . . that Mr Azima had agreed with at least Dr Massaad and

probably with Mr Al Sadeq as well that the illicit payments would be made.”

(D.E. 22-1, ¶ 249).

      Two weeks after the Approved Judgment was published, the Citizen Lab

published its story about “Dark Basin,” an alleged hack for hire group, on June

9, 2020. Also on June 9, 2020, Thomson Reuters published exclusive coverage

of the Citizen Lab report and claimed that BellTrox Info Tech Services

(“BellTroX”) was involved in the hacking by Dark Basin. (See D.E. 1, ¶ 3).



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II.    Plaintiff’s agents unlawfully obtain CyberRoot bank statements.

       The June 9, 2020, coverage did not mention CyberRoot. However,

Plaintiff and his agents were already working to create connections to

CyberRoot, Defendants, and others.

       By June 23, 2020, individuals working for Plaintiff had already contacted

CyberRoot’s bank to obtain CyberRoot’s financial information. Specifically,

Omkar Tripathi, contacted a Kotak Mahindra bank employee seeking

information concerning CyberRoot for the period of April 1, 2016, through

March 31, 2017. (Ex. B, p.1). On June 24, 2020, Tripathi specified that he

needed transactions between CyberRoot and “Vital Management Services,”

“Page Group,” or any “USD large payments” for the period of “2016-2017.” (Id.

pp.3&4).

       On June 30, 2020, Tripathi provided CyberRoot’s confidential bank

account and relationship number. (Ex. B, p.5). At that time, Tripathi stated

“Mil jati hai stm to usi se fee mangwa kr,” which roughly translates to “If it is

found, I will get the fee from them.” (Id.). On July 7, 2020, Tripathi requested

CyberRoot’s bank statements for the period of January 1, 2015, through

December 31, 2015. (Ex. B, p.6). A report from the Indian Police discloses that

CyberRoot’s bank statements for the requested periods were generated on June

30, 2020, and July 1, 2020, and leaked to Tripathi by two Kotak Mahindra

Bank employees. (Ex. C, p.3). Both Kotak Mahindra Bank employees involved


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provided witness statements to the Indian Police, confessing that they were

used by Tripathi to fraudulently obtain CyberRoot’s bank statements. (Id.

pp.5&6).

        The bank statements that were stolen by Plaintiff’s agents are the same

bank statements that were filed by Haralambos Tsiattalou shortly before

Plaintiff’s appeal in the English Proceeding. (D.E. 42 ¶¶ 2-3 & 42-1). The theft

of these bank statements, which Tsiattalou claimed were obtained by a

“whistleblower,” are subject to ongoing criminal proceedings in India. (See

Exs. D & E).

III.    Pandey Rebuts the Witness Statement of Jonas Rey.

        According to his witness statement, Rey is a private investigator who

founded Athena Intelligence & Risk Management Sarl after working for

Diligence International Limited for seven years. (See Ex. F-E, p.17, ¶¶ 1&2).

Rey states that he was instructed by Plaintiff’s counsel on July 6, 2020, to

investigate whether BellTroX was involved in hacking Mr. Azima following the

trial in the English Proceeding and “reports in the press regarding BellTrox

alleging that it was a ‘hack-for-hire group.’ ” (Id. p.18, ¶ 8).

        In relevant part, Rey claims that that he was told by an unnamed

“Source 1” – who, upon information and belief, is Aditya Jain – that CyberRoot

was responsible for hacking Plaintiff and “Source 1” introduced him to a former

CyberRoot employee, Vikash Pandey. (Id. p.19, ¶¶ 10-13). Rey claims that


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Pandey confessed to being involved in the hacking of Plaintiff and that he,

CyberRoot, and Defendants published and republished Plaintiff’s data. (Id.,

pp.20-23, ¶¶ 15-36). However, Pandey categorically denied the allegations in

Rey’s statement, and denies ever having met or spoken with Rey. (See Ex. F

¶¶ 32-51). Pandey has repeatedly denied having any information or belief that

CyberRoot or Defendants were engaged in any illegal hacking, and specifically

denied any involvement in or awareness of the hacking of Azima. (E.g., id. ¶ 5).

Instead, Pandey confirmed that Plaintiff and his agents attempted to pressure

him into providing false information that would implicate CyberRoot and

Defendants in this matter. (E.g., Ex. G ¶ 40).

IV.    Jain and Azima’s counsel attempt to convince Pandey to
       implicate CyberRoot.

       Pandey is a former employee of CyberRoot, where he worked from

approximately July 2016 until May 2020. (Id. ¶ 1). Contrary to the timeline

stated by Rey’s witness Statement, Pandey confirmed, inter alia:

    In August 2020, Jain called Pandey on behalf of Plaintiff to warn him
     that he was the primary suspect in an investigation into the alleged
     hacking of Plaintiff, (id., ¶¶ 3-4);

    On August 28, 2020, Pandey received a demand letter from Azima’s
     counsel, who claimed to have information that confirmed Pandey was
     “instrumental” to the alleged hacking and demanded Pandey’s
     cooperation to avoid criminal and legal proceedings, (id., ¶¶ 11-14);

    Beginning on August 31, 2020, Jain and Holden “pressured” Pandey to
     sign a Confidentiality Agreement before they would disclose their alleged
     evidence against him, (id. ¶¶ 17-20);


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      On September 2, 2020, Pandey spoke with Jain and a member of
       Plaintiff’s legal team, who refused to provide evidence that Pandey was
       involved in hacking Azima. (Id. ¶¶ 21-26). Instead, Pandey believed that
       “Holden and Jain insisted on the Confidentiality Agreement because
       they intended to pressure [him] to give false testimony during this call.”
       (Id. ¶ 27);

      On September 4, 2020, Holden provided “Consultancy Agreements” to
       Pandey, which offered to pay Pandey to assist them in Plaintiff’s legal
       proceedings, including the English Proceeding, (id. ¶¶ 29-32);

      The Consultancy Agreement was very lucrative, and Jain estimated that
       Pandey would be paid the equivalent of over $500,000 if he cooperated,
       (Id. ¶¶ 33-38); and

      Pandey refused to cooperate with Plaintiff and “understood that the
       proposed payments to implicate CyberRoot were intended to frame
       CyberRoot in the hacking of Azima.” (Id. ¶ 40).


        Pandey repeatedly and summarily denied being involved in hacking

Plaintiff or providing any of the information that Plaintiff relies upon in this

lawsuit and others.

V.      Consultants for the Eurasian Natural Resource Corporation
        contact Defendants about settlement shortly before Plaintiff
        files his lawsuit.

        Immediately before this lawsuit was filed, Plaintiff sent a legal demand

letter to Defendants. On or about October 13, 2020, Plaintiff also contacted Del

Rosso through a corporate risk management consultant, Yuri Koshkin. (Ex. H

¶ 6). Koshkin provided an unfiled copy of the same draft Complaint that

Plaintiff’s counsel sent to Defendants. (Id. ¶ 6 & Ex. C). Koshkin represented



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that he and Dmitri Vozianov, a consultant for the Eurasian Natural Resources

Corporation, was authorized to negotiate the lawsuit that Plaintiff had

threatened to file against Defendants. (Id.).

       In previous conversations, Koshkin informed Del Rosso of Plaintiff’s

improper financial arrangement with Vozianov’s client. (Id.¶¶ 3-5 & Exs.

A & B).

VI.    Recent Discovery in this Matter.

       Discovery in this action commenced less than three months ago. (D.E.

93, p.1).1 The November 16, 2022, Scheduling Order recognized that “a

protective order shall be entered before any confidential information is

disclosed.” (D.E. 93, p.3). Plaintiff attempted to withdraw his consent to a

confidentiality protective order on December 16, 2022, forcing Defendants to

move for the entry of a confidentiality protective order. (See D.E. 101; see also

D.E. 102, pp.1-5 (describing background)). In response to Defendants’ Motion

for a Confidentiality Protective Order, Plaintiff renewed his consent to such

protection, (D.E. 112), and that consent motion is pending with the Court.

       While the parties were negotiating a confidentiality protective order, on

November 22, 2023, Plaintiff served the expansive requests for production of

documents at issue in this Motion. As reflected by the growing number of


1Before the Court entered a Discovery Order, Plaintiff had already served a subpoena on PNC Bank,
but did not serve a notice of the same on Defendants pursuant to Rule 45(a)(4) of the Federal Rules of
Civil Procedure. (See D.E. 123, p.13).


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discovery-related motions filed, Plaintiff has refused to reasonably tailor the

scope of discovery to the scope of this lawsuit – i.e., the Republication Claims.

      Defendants requested a twenty-day extension to respond to the request

for production of documents, which Plaintiff predictably opposed. Defendants

timely filed their Motion for Extension of Time on December 20, 2023, (D.E.

100), but served their written responses and objections in good faith on

December 22, 2022. (D.E. 131-2). Defendants explicitly objected on the basis

that, inter alia, the Court dismissed nearly all of Plaintiff’s claim and that the

remaining claim was limited to three months of alleged activity in the

Republication Claims. (D.E. 80, p.4).

      Additionally, Plaintiff’s requests for production of documents asked

Defendants to produce documents related to Dechert in the scope of lawfully

representing its clients, including RAKIA, which remains at issue in multiple

pending motions.

      Amid several overlapping discovery disputes, on January 13, 2023,

Plaintiff (1) served another unilateral notice for Del Rosso’s individual

deposition for February 10, 2023; and (2) sent a purported Deficiency Letter

with respect to Defendants’ responses and objections to Plaintiff’s first set of

document requests. Despite waiting approximately one month to state his

position in the Deficiency Letter, Plaintiff demanded a meet and confer call no

later than the next business day. (D.E. 131-4, p.7).


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      Defendants promptly responded to Plaintiff to advise that they would

need time to review the purported deficiencies identified in Plaintiff’s letter

and provide a substantive response or appropriate corrections, if any.

      On January 17, 2023, Plaintiff served on Defendants notices of

subpoenas of First Citizens Bank & Trust Co. and First National Bank of

Pennsylvania (collectively “Banks”), with a production date of January 26,

2023. (D.E. 122-1, 122-2). On January 18, 2023, Defendants e-mailed Plaintiff

about the issues with the subpoenas for the Banks and asked to meet and

confer. (D.E. 123-1). Counsel agreed to a meet-and-confer conference for

January 20, 2023. (Id.; D.E. 123-2).

      Plaintiff’s Counsel attempted to bring up the Deficiency Letter during a

January 20, 2023, meet-and-confer call regarding two subpoenas propounded

by Plaintiff; however, Counsel for Defendants clarified that the meet-and-

confer was scheduled to discuss the two subpoenas, and that a call to discuss

the Deficiency Letter should be scheduled after Defendants sent their

Response Letter. (D.E. 122-1, 122-2). As the parties were unable resolve the

conflict regarding the two subpoenas that were the subject of the January 20,

2023 meet-and-confer call, Defendants filed their Emergency Motion to Quash

and for Protective Order regarding the two subpoenas on January 20, 2023.

(See D.E. 122, 123).




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       On that same day, Defendants produced non-confidential, responsive

documents, but noted the ongoing process of evaluating issues related to

privilege, work product, the outstanding Confidentiality Protective Order, and

the scope of discovery. (D.E. 131-3). Defendants subsequently provided a

detailed response to Plaintiff’s Deficiency Letter on January 26, 2023. (D.E.

142-2). As noted in their Motion, Plaintiff received Defendants’ Response

Letter, but elected to file this Motion without attempting to meet and confer in

good faith.2

                                         ARGUMENT

I.     Plaintiff’s Discovery Has Been Undertaken for an Improper
       Purpose.

       The central issue remaining in this case is whether Defendants

participated in the republication of Plaintiff’s data on blog sites during three

months: May 2018, June 2018, and June 2019. Defendants denied these

allegations, and it is evident that Plaintiff knows that the purported

admissions by Pandey were not actually obtained by Rey.

       Given that Plaintiff knows that Defendants did not participate in the

Republication Claims, it stands to reason that Plaintiff knows that fishing into

every aspect of Defendants’ business and personal accounts will not yield



2Since January 23, 2023, Plaintiff has served six third-party subpoenas to directed at a range of non-
parties from banks to attorneys, which seek information that is confidential and not proportionate to
the scope of this lawsuit.


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relevant information. Besides dramatically and unnecessarily increasing the

cost of this narrow litigation, Plaintiff’s aggressive and expansive discovery

appears to be related to another improper purpose: obtaining confidential and

privileged information concerning Dechert LLP in furtherance of a financial

arrangement that he reportedly made in 2018 with a hostile former client of

Dechert. (See Ex. H-A, p.4). Plaintiff’s intention to use the information in other

lawsuits that he or third parties have filed is an abuse of discovery. See

Marfork Coal Co. v. Smith, 274 F.R.D. 193, 204, 207 (S.D. W. Va. 2011)

(denying motion to compel discovery where the plaintiff had indicated that the

discovery sought “would be useful in the development of further claims” in

other court proceedings and was therefore prohibited). Therefore, Plaintiff’s

Motion must be denied.

II.    Plaintiff’s Motion is Facially Deficient and Premature.

       While Plaintiff’s pursuit of improper discovery is sufficient to

immediately deny his Motion, the Motion is facially deficient and premature

for several reasons, including:

       (a) Plaintiff’s discovery requests exceed the scope of discovery as limited

by this Court;

       (b) Defendants produced all non-confidential documents to which there

were no objections to relevancy and temporal scope;




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      (c) Plaintiff did not meet and confer before filing his Motion as required

by M.D.N.C. Local Rule 37.1(a);

      (d) Plaintiff received notice before filing this Motion that Defendants had

not withheld any documents based on any alleged boilerplate objections; and

      (e) Plaintiff’s discovery focuses on third-parties’ privilege sand their

criticisms concerning privilege are improper and premature.

   A. Plaintiff’s Requests 1-5 and 7-10 Exceed the Court’s Limited
      Scope of Discovery.

      Despite the fact that nearly all of Plaintiff’s Complaint was dismissed

with prejudice, Plaintiff argues that he should still be able to pursue full

discovery because the original Complaint “alleges a longstanding conspiracy

between Del Rosso, VMS, Dechert, and others to, among other things,

misappropriate Plaintiff’s trade secrets” and because a broader temporal scope

is “critical to Plaintiff proving the fact of (as well as the scope of) the

conspiratorial agreement[.]” (DE. 131-4, p.4). Plaintiff also claims Defendants

assisted “in the hacking conspiracy” when Defendants were hired by “a hack-

for-hire firm, CyberRoot, to hack Plaintiff’s systems.” (D.E. 131, pp.7-8). All

hacking claims, however, were dismissed with prejudice. (D.E. 65, pp.23-25).

Plaintiff’s arguments for disproportionate discovery on dismissed claims failed

for several reasons.




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      First, Plaintiff recognizes “the Court has ordered discovery on “the

operative allegations and claims contained in Plaintiff’s Complaint, the denials

and defenses raised in Defendants’ Answer, and all other relevant matters

within the scope of Fed. R. Civ. P. 26,” (D.E. 131, p.10, n.3 (quoting D.E. 93)),

but disregards the key term in the Court’s Order: “operative allegations.” This

Court plainly identified the narrow conduct that should be permitted to

continue.

      The 12(b)(6) Order limited the scope of this matter to Plaintiff’s specific

conduct alleged in his North Carolina Misappropriation of Trade Secrets claim

(Count VIII)—as well as the contingent Civil Conspiracy claim (Count X)—and

to only encompass “the 2018–2019 conduct – the only allegations that are not

time barred.” (D.E. 65, pp.23–24). Moreover, the Court specifically identified

the “2018-2019 conduct” as the allegations that Defendants conspired with

CyberRoot Risk Advisory Private Limited (“Cyber Root”) to create new blog

sites in May 2018, June 2018, and June 2019 using WeTransfer. (Id. at 17–18

(citing to Complaint, ¶¶16, 19, 22, 24–26)).

      The language in the 12(b)(6) Order was not a fluke. In a subsequent

order, the Court succinctly stated that only “two of Plaintiff’s claims were

allowed to proceed: a North Carolina misappropriation of trade secrets claim

arising from the 2018-2019 online posting of new links to Plaintiff’s

confidential business data (Count VIII) and a North Carolina civil conspiracy


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claim contingent upon the viability of the trade secrets claim (Count X).” (D.E.

80, p.4). Defendants have continuously communicated to Plaintiff the Court

has limited the relevant conduct in this case to the alleged republication of

Plaintiff’s data in 2018 or 2019. (See, e.g., Defendants’ Rule 26(f) Report, D.E.

90, p.2).

      Second, regarding Plaintiff seeking discovery of payments over the

period of 2014 through 2021 to Defendants from RAK or affiliated entities (D.E.

131-1, ¶¶1, 9), not only does the temporal scope set by this Court control, but

Plaintiff has already received verified information that discredits his

allegations that such payments are evidence of “prior bad acts . . . relevant to

prove motive, opportunity, intent, preparation, plan, etc.” (D.E. 131-4, p.5).

Indeed, in August 2014, VMS was engaged by Dechert to investigate assets

potentially stolen from the Government of RAK; however, as Del Rosso stated

when he was cross-examined by Plaintiff’s counsel during the RAKIA trial on

January 30, 2020, he had worked with other lawyers at Dechert on unrelated

matters involving suspected fraud. Further, Del Rosso also worked with

CyberRoot as early as 2014, and Del Rosso has submitted a witness statement

in the English Proceeding with RAKIA explaining that this work was not

related to Plaintiff. Finally, Plaintiff knows that the allegations in the Rey

witness statement that form the basis for his lawsuit are false. Thus, Plaintiff

should not be allowed to engage in a fishing expedition regarding information


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to which Del Rosso has already stated, under oath, does not relate to Plaintiff

or Plaintiff’s allegations. See Jiangmen Kinwai Furniture Decoration Co. v.

IHFC Properties, LLC, No. 1:14-CV-689, 2015 WL 5098791, at *3-6 (M.D.N.C.

Aug. 31, 2015) (finding discovery allegedly targeting whether employees acting

on behalf of the defendant also acted on behalf of other entities was grossly

overbroad where employees had already provided information about

employment under oath and the discovery sought posed limited relevancy to

the pending matter).

      Third, Plaintiff contends that Defendants’ alleged conduct postdating

2019 is also relevant, because “[a]s is clear from ECF No. 61, around the filing

of this case, Defendants destroyed evidence, instructed hackers to destroy

evidence, and fabricated a contract to cover up the fact that Defendants paid

an admitted hacker.” (D.E. 131-4, p.5). Setting aside the questionable nature

of and purpose for Plaintiff’s filings, his “Emergency Motion for Leave to File

Supplemental Information” was not properly supported and denied by the

Court in its 12(b)(6) Order, and it is not part of this case. (D.E 65, p. 11 n.3).

Indeed, Plaintiff should not be permitted to manufacture issues, especially in

light of his apparent motive of to obtain confidential information for improper

uses. (Ex.H-A p.4).

      Finally, while Plaintiff contends Defendants seeking discovery outside of

2018 and 2019 validates Plaintiff’s attempts to do the same, (D.E. 131, p.10


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n.3), Defendants have a right to probe Plaintiff’s allegation of an injury “on or

about August 28, 2020 following an investigation,” (see D.E. 1 ¶127), which is

the alleged fact that gave rise to his Republication Claims. However, as noted

above, the remaining allegations in the Republication Claims – that

Defendants republished Plaintiff’s data in May and June 2018 and, again, in

June 2019, (D.E.1 ¶¶ 16, 19, 22, 24–26) – are based on false statements in Rey’s

Witness Statement. If anything, the fact that Plaintiff is relying on false

allegations requires the restriction of discovery in this matter, not its

expansion.

      Accordingly, Plaintiff’s Requests seeking documents from 2014 to the

present is not reasonably calculated to lead to the production of admissible

evidence regarding a purported conspiratorial agreement with CyberRoot in

2018 or 2019 regarding the republication of Plaintiff’s data, which remains

wholly unfounded. Further, such broad discovery into purported conspiratorial

agreements with Dechert “or others” spanning back to 2014 appears to be

sought for an improper purpose in furtherance of Plaintiff’s claims against

Dechert and “others” in separate related matters pending in other

jurisdictions, including but not limited to Azima v. Dechert LLP, Case No. 1:22-

CV-08728-PGG (S.D.N.Y.). In fact, the Court in Plaintiff’s New York lawsuit

stayed all discovery pending resolution of the defendants’ several motions to




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dismiss. (S.D.N.Y. Case No. 1:22-CV-08728-PGG, D.E. 104). As such, Plaintiff’s

Motion must be denied.

   B. Plaintiff Did Not Meet the Requirements of M.D.N.C. Local Rule
      37.1(a).

      Pursuant to M.D.N.C. Local Rule 37.1(a), “[t]he Court will not consider

motions and objections relating to discovery unless moving counsel files a

certificate that after personal consultation and diligent attempts to resolve

differences the parties are unable to reach an accord.” Here, Plaintiff’s Counsel

did not attempt to meet and confer multiple times regarding a deficient

production of documents.

      As an initial matter, Plaintiff incorrectly characterizes Defendants’

timely filing of a motion for extension of time on December 20, 2022, as creating

an obligation to meet and confer about discovery responses that were not yet

due (even in the absence of the motion for extension of time). (See D.E. 100).

Despite seeking a reasonable extension of time, Defendants still served

detailed responses and objections to Plaintiff’s discovery requests on December

22, 2022. Tellingly, Plaintiff did not state his position in any meaningful detail

until sending his Deficiency Letter nearly a month later on January 13, 2023.

And regarding January 20, 2023, counsel for the parties did have a meet-and-

confer conference, but for the January 17, 2023, subpoenas for the Banks,

which Plaintiff demanded production under by January 26, 2023. (See D.E.



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123-1, 123-2). As Plaintiff had demanded the production of documents within

six days, the two subpoenas took priority for a meet-and-confer conference over

Plaintiff’s belated Deficiency Letter.

      Indeed, if Plaintiff had not waited until January 13, 2023, a Friday, to

send his Deficiency Letter, voluntarily withdrawn their notice of deposition of

VMS after this Court’s January 6, 2023 Order, and had not demanded

production from the Banks within six days after serving the subpoenas on

January 17, 2023, the Parties could have exchanged written statements of

their positions on complicated discovery issues and met-and-conferred about

any remaining issues within a reasonable amount of time, as Defendants had

suggested. Instead, Plaintiff prematurely filed this Motion without regard for

the detailed response that he received regarding the alleged deficiencies in

Defendants’ discovery responses.

      Accordingly, the Court should disregard Plaintiff’s premature Motion in

light of his failure to attempt to resolve discovery disputes in good faith prior

to requiring briefing by the parties. See M.D.N.C. LR 26.1(b)(1) (mandating

that litigants “conduct discovery in good faith and to cooperate and be

courteous with each other in all phases of the discovery process.”).




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   C. Defendants Produced Responsive Documents to Which There
      Were No Objections and Were Not Confidential.

      When the Court dismissed every claim other than the Republication

Claims, it substantially reduced the scope of the case to conduct that allegedly

took place in three months. It should come as no surprise that Defendants do

not have records related to these false allegations that they have denied, (see,

e.g., Exs. F&G, D.E. 86 ¶¶ 16, 19, 22, 24-26), so objecting to Plaintiff’s

disproportionate discovery is hardly “stonewall[ing].” (D.E. 131, p.3 n.1).

      Closely related to the fact that Plaintiff did not tailor his requests to be

proportionate to the Republication Claims, (see D.E. 65, pp.23–24), is the fact

that Plaintiff is seeking highly confidential documents related to, inter alia,

fraud examination services provided to a law firm that would ordinarily be

exempt from disclosure, (see, e.g., Fed. R. Civ. P. 26(b)(3)). This Court’s

Scheduling Order states “[t]he parties have agreed that a protective order shall

be entered before any confidential information is disclosed.” (D.E. 93, p.3). As

such, Defendants have not produced any confidential documents as a

confidentially protective order has not been entered in this case yet, which

Defendants’ Counsel noted in the January 20, 2023 production. (D.E. 131-1).

Despite such, Plaintiff filed this Motion, which has needlessly increased the

cost of this process. Furthermore, as Plaintiff first consented to a confidentially

protective order, unreasonably withdrew his consent, and then withdrew his



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objection after forcing Defendants to fully brief what is ordinarily a routine

issue. Any complaint about a delay in the disclosure of confidential information

is a product of Plaintiff’s own vexatious conduct.

      Accordingly, Plaintiff’s Motion must be denied as Defendants produced

all responsive, non-confidential documents. Upon entry of a confidentiality

protective order, Defendants will timely produce responsive, confidential

documents and applicable privilege log.

   D. Defendants Did Not Withhold Production of Documents Based
      on the Alleged Boilerplate Objections.

      As explained in Defendants January 26, 2023 Response Letter,

Defendants did not withhold any production of documents based on

Defendants’ objections that Plaintiff characterizes as “boilerplate.” (See

D.E.142-2, p.7). Thus, this portion of Plaintiff’s Motion is moot, which Plaintiff

knew before filing.

      Plaintiff also takes issue with the “duplicative” objections asserted by

Defendants, (D.E. 131, p.9, n.3), but as explained in the January 26, 2023

Response Letter, such objections were asserted to relieve Defendants of the

burden of guessing about Dechert and its clients’ position on the application of

work product and privilege—all of which Dechert and its clients have the

authority to assert or waive, whereas Defendants do not have the right to

unilaterally waive such protections. Regardless, once Defendants receive



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Dechert and its clients’ position on the application of work product and

attorney-client privilege, Defendants will indicate which documents are being

withheld on that basis.

      Accordingly, Plaintiff’s motion must be denied.

   E. Plaintiff’s arguments concerning privileges and logs are
      premature.

      Similar to other points, Plaintiff’s position that Defendants have failed

to produce a privilege log for confidential and privileged information is

premature. Plaintiff’s requests facially seek confidential and privileged

information that Defendants are not obligated to produce in the absence of a

confidentiality protective order.

      To the extent Plaintiff contends Defendants “are obligated to have

already made that determination and should have a privilege log prepared,”

(D.E. 131-4, p.7), Plaintiff did not provide any authority, and Defendants are

not aware of any requirement, that Defendants produce a privilege log prior to

withholding documents based on privilege. Further, while Defendants

understand that they are in possession of privileged information (responsive

or not), it is Dechert and its clients that have the authority to determine

privilege, and Defendants cannot assert or waive Dechert’s clients’ privilege.

See In re NC Swine Farm Nuisance Litigation, 5;15-CV-13-BR, 2017 WL

2313470, at *4 (E.D.N.C. May 26, 2017) (“Defendant does not have the



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authority to waive the attorney-client privilege between [a third-party] and its

counsel.”). As reflected by, inter alia, Dechert’s Motion to Quash, (D.E. 136),

there are apparent and complicated issues of attorney-client privilege, which

have not been waived.

      Moreover, as stated in Defendants’ objections to Plaintiff’s requests, (see

generally D.E. 131-2), all objections based on privilege and work product also

note that those documents are also confidential. As explained above,

Defendants are abiding by the Court’s Scheduling Order that forbids the

disclosure of confidential information until entry of a confidentiality protective

order. (See D.E. 93, p.3). Therefore, Plaintiff’s Motion must be denied.

   F. Plaintiff’s Request for Costs, Including Attorneys’ Fees, Must Be
      Denied.

      Under Rule 37(a)(5), the Court must require the opposing party to pay

the moving party's reasonable expenses if the motion is granted, including

attorneys' fees, unless “the movant filed the motion before attempting in good

faith to obtain the disclosure or discovery without court action; the opposing

party's nondisclosure, response, or objection was substantially justified; or

other circumstances make an award of expenses unjust.” Fed. R. Civ. P.

37(a)(5).

      To the extent any portion of Plaintiff’s Motion is granted, Plaintiff should

not be entitled to any costs, considering both the Court’s limitation of claims



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and Defendants’ adherence to the Court’s Scheduling Order instructing the

parties to not produce confidential information until entry of a confidentially

protective order.

      Here, Defendants provided written responses to Plaintiff’s discovery

requests, produced all non-confidential documents that they did not have

objections to regarding the scope of discovery, and stated that they will produce

confidential documents when the Court enters a confidentiality protective

order. Defendants’ actions resulted from justifiably relying on the Court’s

repeated assertions that the case was limited to the 2018 and 2019

Republication Claims, (see D.E. 65, pp.17-18, 23–24; D.E. 80, p.4), and this

Court’s Scheduling Order instructing the parties to not produce confidential

information until entry of a confidentially protective order, (D.E. 93, p.3). As

such, Defendants’ nondisclosure, response, and objections were substantially

justified.

      Additionally, as explained above, Plaintiff did not meet and confer before

filing his Motion, has served a barrage of discovery requests and third-party

subpoenas that are outside the Court’s limited scope of discovery and provided

an unreasonably short time to produce, and has otherwise failed to obtain

discovery in good faith. Indeed, this Court has recognized that sanctions are

appropriate against the party seeking overbroad discovery that is not

reasonably calculated to obtain relevant information. Jiangmen, 2015 WL


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5098791, at *8-10 (granting motion for protective order and finding the direct

and circumstantial evidence indicate that the party seeking discovery was

engaging in a fishing expedition instead of seeking potentially useful evidence).

Therefore, sanctions are not appropriate against Defendants in light of

Plaintiff’s actions. Moreover, Plaintiff’s real purpose in seeking such overbroad

discovery is to gain information about Dechert, not to discover information that

is reasonably calculated to obtain relevant information in this matter.

      Thus, Plaintiff’s request for costs, including reasonable attorneys’ fees,

must be denied.

                                CONCLUSION

      As counsel did not engage in a meet-and-confer conference before

Plaintiff filed this Motion, the Court has the authority to disregard this Motion.

Alternatively, for all the reasons above, including Plaintiff’s improper

discovery and refusing to abide by the Court’s scope limitations in this matter,

and Defendants correctly abiding by this Court’s Scheduling Order forbidding

the disclosure of confidential information until entry of a confidentiality

protective order, Plaintiff’s Motion should be denied.




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 Respectfully submitted, this the 9th day of February, 2023.

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                     WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that Defendants’ Response in Opposition to Plaintiff’s Motion to

Compel Production of Documents contains 6,129 words, according to the

word count feature of the word processing system used to prepare the brief.

Accordingly, the brief does not exceed the 6,250-word limitation.

      Respectfully submitted, this the 9th day of February, 2023.

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                        CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of February, 2023, I electronically
filed the foregoing Defendants’ Response in Opposition to Plaintiff’s
Motion to Compel Production of Documents with the Clerk of the Court
using the CM/ECF system, which will send electronic notification of filing to
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